
705 S.E.2d 341 (2010)
STATE of North Carolina
v.
Daniel Wayne SCOTT.
No. 385P10.
Supreme Court of North Carolina.
November 4, 2010.
Charlesena E. Walker, Assistant Appellate Defender, for Daniel Wayne Scott.
David Kirkman, Assistant Attorney General, for State of N.C.

ORDER
Upon consideration of the petition filed on the 7th of September 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 4th of November 2010."
